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 6                                  UNITED STATES DISTRICT COURT
 7                                        DISTRICT OF NEVADA
 8                                                       ***
 9    UNITED STATES OF AMERICA,                      )
                                                     )
10                   Plaintiff,                      )         2:10-cr-289-KJD-RJJ
                                                     )
11    vs.                                            )
                                                     )
12    CURTIS BRILEY,                                 )             ORDER
                                                     )
13                   Defendant,                      )
                                                     )
14
             This matter is before the Court on David Phillips’ Motion to Withdraw/Conflict of
15
      Interest (#26) for Defendant Curtis Bradley.
16
             The Court having reviewed the Motion (#26) and good cause appearing therefore,
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             IT IS HEREBY ORDERED that David Phillips’ Motion to Withdraw/Conflict of Interest
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      (#26) for Defendant Curtis Bradley is GRANTED.
19
             IT IS FURTHER ORDERED that court appointed counsel shall be assigned to this case.
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             DATED this      13th   day of August, 2010.
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24                                                   ROBERT J. JOHNSTON
                                                     United States Magistrate Judge
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